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 1   HEATHER E. WILLIAMS, SBN #122664
     Federal Defender
 2   JEROME PRICE, SBN # 282400
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, CA 95814
     Telephone: (916) 498-5700
 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     LORAINE DIXON
 7
 8                           IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   Case No. 2:16-CR-0239-MCE-3
                                                )
12                    Plaintiff,                )   STIPULATION AND ORDER TO
                                                )   TEMPORARILY RELEASE PASSPORT TO
13   vs.                                        )   DEFENDANT
                                                )
14   LORAINE DIXON,                             )
                                                )   Judge: Hon. Kendall J. Newman
15                    Defendant.                )
                                                )
16                                              )

17
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
18
     Attorney, through Matthew Yelovich Assistant United States Attorney, counsel for Plaintiff, and
19
     Heather Williams, Federal Defender, through Assistant Federal Defender Jerome Price, counsel
20
     for Loraine Dixon that the Clerk of the Court may temporary return Ms. Dixon’s passport to her.
21
            Loraine Dixon is currently on pretrial release in this district and in compliance with her
22
     conditions of release. She has cosigned a $25,000.00 unsecured bond along with Jack Dixon.
23
     Mrs. Dixon has an appointment with DMV in the city of Roseville on April 16, 2019 at 2:30 p.m.
24
     and will need her passport to obtain a California REAL ID. Mrs. Dixon agrees to return her
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     passport to the Clerk no later than April 18, 2019. Pretrial Services has been made aware of this
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     request and has no objection. The government also does not object to this request.
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 1                                     Respectfully submitted,

 2
 3   DATED: April 15, 2019             HEATHER E. WILLIAMS
                                       Federal Defender
 4
                                       /s/ Jerome Price
 5
                                       JEROME PRICE
 6                                     Assistant Federal Defender
                                       Attorneys for Loraine Dixon
 7
     DATED: April 15, 2019             McGREGOR W. SCOTT
 8                                     United States Attorney

 9                                     /s/ Matthew Yelovich
                                       Matthew Yelovich
10
                                       Assistant U.S. Attorney
11                                     Attorney for Plaintiff

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 1                                                ORDER

 2          IT IS HEREBY ORDERED, that the Clerk of the Court shall return Defendant Loraine

 3   Dixon’s passport to her for the purpose of renewing or obtaining a California REAL ID. The

 4   defendant shall return the passport to the Clerk of the Court no later than April 18, 2019. Once
 5   the passport is received, it shall remain with the Clerk pending further order of the court.
 6
 7          IT IS SO ORDERED.
 8   Dated: April 15, 2019
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